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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                            ) Bankruptcy No. 15-23639 GLT
 Edward J. Roche and                               )
 Kathleen J. Roche,                                ) Chapter 7
        Debtors,                                   ) Related Document No. 183-181
 U.S. Bank Trust National Association, as          ) Hearing Date: 12/21/17 @10:00 a.m.
 Trustee of Bungalow Series F Trust                ) Response Date: 12/16/17
        Movant,                                    )
        vs.                                        )
 Natalie Lutz Cardiello, Trustee,                  )
        Respondents.                               ) Document No.


      DEBTORS’ RESPONSE TO MOTION OF U.S. BANK TRUST NATIONAL
    ASSOCIATION, AS TRUSTEE OF BUNGALOW SERIES F TRUST FOR RELIEF
    FROM THE AUTOMATIC STAY UNDER 11 U.S.C. §362 (d) WITH RESPECT TO
           PROPERTY: 5632 FAIRFIELD DRIVE, GIBSONIA, PA 15044

        AND NOW, come the Debtors, Kathleen J. Roche and Edward J. Roche, by and

 through their attorneys, Calaiaro Valencik and Donald R. Calaiaro, and present the

 following:

        1.     Denied as stated; The Mortgage was granted to Suntrust Mortgage, Inc.

 Proof of claim, 55-1 was filed by Seterus, Inc. as the authorized subservicer for Federal

 National Mortgage Association (“Fannie Mae), creditor c/o Seterus, Inc. Neither the Proof

 of claim No. 55-1 nor this Motion explains why the Movant has standing to institute this

 action. Proof of standing and the right of Movant to make this claim is demanded. The

 Movant has not provided sufficient information in its motion to respond to the allegations in

 paragraph 1. Therefore, the allegation is denied. The Movant has not demonstrated that

 the Movant has standing. It is a servicer and not a party in interest. . It is not entitled to

 bring this Motion as a servicer.     In re: Sheridan, 08-20381-TLM, 2009 WL 631355,

 (Bankr. D. ID., March 12, 2009); In re: Jacobson, W.L. 567188 (Bankr. W.D. WA.,
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 March 6, 2009); In re: Brooks, 2008 WL 416268 (Bankr. E.D. PA., February 13, 2008);

 In re: Hayes, 393 B.R. 259, (Bankr .D. MA. 2008).

        2.     Admitted.

        3.     Admitted.

        4.     Admitted.

        5.     Admitted.

        6.     Denied as stated; the assignment(s) do not clearly trace the chain of title from

 SunTrust to the Movant.

        7.     Admitted.

        8.     Denied; the Debtors filed bankruptcy to deal with other creditors’ claims and

 pending executions.

        9.     Denied as stated; the Debtors are unable to verify the escrow balance without

 an accounting. The Movant is in the exclusive possession of the record; the Debtors

 request an accounting of the escrow balance and the accrued interest.

        10.    Paragraph 10 is a conclusion of law, which is denied. The Debtors are unable

 to admit or deny the entitlement of the Movant to counsel fees without an itemization or

 specific claim for counsel fees.

        11.    It is admitted that there are no other liens on this property.

        12.    Paragraph 11 is a conclusion of law, which is denied.

        13.    Denied; the Debtors believe that the Movant is adequately protected by any

 equity in this property. They need time to relocate.

        14.    Paragraph 14 is a conclusion of law, which is denied. The Movant is entitled

 to adequate protection if it is the holder of the mortgage.
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       15.    Paragraph 14 is a conclusion of law, which is denied. There is no cause to

 abrogate Bankruptcy Rule 4001(a)(3). The Movant will not incur any substantial costs

 during that 14 day period.

       WHEREFORE, Debtors request that the Motion be denied.

                                         Respectfully submitted,

 Dated: November 30, 2017                BY:     /s/ Donald R. Calaiaro ______
                                         Donald R. Calaiaro, Esquire, PA I.D. #27538
                                         dcalaiaro@c-vlaw.com

                                         BY:    /s/ David Z. Valencik______________
                                         David Z. Valencik, Esquire, PA I.D. #308361
                                         dvalencik@c-vlaw.com

                                         BY:    /s/ Michael Kaminski  ______
                                         Michael Kaminski, Esquire, PA I.D. 53493
                                         mkaminski@c-vlaw.com

                                         CALAIARO VALENCIK
                                         428 Forbes Avenue, Suite 900
                                         Pittsburgh, PA 15219-1621
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 Trustee of Bungalow Series F Trust                 ) Response Date: 12/16/17
        Movant,                                     )
        vs.                                         )
 Natalie Lutz Cardiello, Trustee,                   )
        Respondents.                                ) Document No.

 CERTIFICATE OF SERVICE OF Debtors’ Response To Motion Of U.S. Bank Trust
 National Association, As Trustee Of Bungalow Series F Trust For Relief From The
 Automatic Stay Under 11 U.S.C. §362 (D) With Respect To Property: 5632 Fairfield
                             Drive, Gibsonia, Pa 15044

        I certify under penalty of perjury that I served the above captioned pleading on the
 parties at the addresses specified below or on the attached list on November 30, 2017

 Service by First Class Mail:
 Mr. and Mrs. Edward Roche, 5632 Fairfield Drive, Gibsonia, PA 15044

 Service by NEF:
 Christopher M. McMonagle, Stern & Eisenberg, P.C., 1581 Main Street, Suite 200, Warrington,
 PA 18976-3400

 Natalie Lutz Cardiello, Esquire, 107 Huron Drive, Carnegie, PA 15106

        The type(s) of service made on the parties (first-class mail, electronic notification,
 hand delivery, or another type of service) was: First-Class Mail or Electronic
 Notification.

        If more than one method of service was employed, this certificate of service groups
 the parties by the type of service. For example, the names and addresses of parties served
 by electronic notice will be listed under the heading “Service by Electronic Notification,” and
 those served by mail will be listed under the heading “Service by First-Class Mail.”

 Executed On: November 30, 2017             BY:     /s/ Donald R. Calaiaro ______
                                            Donald R. Calaiaro, Esquire, PA I.D. #27538
                                            dcalaiaro@c-vlaw.com

                                            BY:    /s/ David Z. Valencik______________
                                            David Z. Valencik, Esquire, PA I.D. #308361
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                                      dvalencik@c-vlaw.com

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